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                               UNITED STATES DISTRICT COURT
                                         FOR THE                                101 \ J~ I 4 p~ \: \ O
                                   DISTRICT OF VERMONT
                                                                                         CLERK
 WENDY L. KALANGES,                               )
                                                  )
                Plaintiff,                        )     Case No. - - - - - -
                                                  )
                                                  )
                                                  )
 GO PICHA.ND V ALLABHANENI                        )
 and COMMUNITY HEALTH CENTERS                     )
 OF BURLINGTON,                                   )
                                                  )
                Defendants.                       )


                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that, pursuant to§ 224 of the Public Health Service Act of 1944

("PHSA"), 42 U.S.C. § 233, the United States, through its attorney, Christina E. Nolan, United

States Attorney for the District of Ve1mont, hereby removes the civil action captioned Kalanges

v. Vallabhaneni, et al., Case No. 1047-11-19-Cncv, from the Ve1mont Superior Comi, Chittenden

Civil Division, to the United States District Comi for the District of Vermont. The grounds for

such removal are as follows:

        1.     On or about August 31, 2020, Wendy L. Kalanges ("Plaintiff') caused Community

Health Centers of Bmlington ("CHCB") to be served with a complaint that Plaintiff had filed

against CHCB and Gopichand Vallabhaneni, DMD (together, "Defendants"), in the Vermont

Superior Court, Chittenden Civil Division, under the caption Kalanges v. Vallabhaneni, et al.,

Case No. 1047-11-19-Cncv. See Plaintiffs Complaint and Demand for Trial by Jury, dated

Febrnaiy 11, 2020 ("Complaint") (Exhibit A).

       2.      Plaintiffs Complaint alleges negligence on the paii of Defendants in connection

with dental care that Plaintiff received from Dr. Vallabhaneni in mid-to-late 2016. See id.
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                      3.      At the time of the incidents out of which this suit arose, CHCB was deemed by the

              Secretary of the United States Department of Health and Human Services to be an employee of

             the Public Health Service for purposes of§ 224 of the PHSA, 42 U.S.C. § 233. See Declaration

             of Meredith Torres, dated January 13, 2021 (Exhibit B), ,r 5, Ex. I.

                      4.      At the time of the incidents out of which this suit arose, Dr. Vallabhaneni was a

             duly-licensed dentist employed by CHCB and, by virtue of such employment, he was deemed by

             the Secretary of the United States Department of Health and Human Services to be an employee

             of the Public Health Service for purposes of§ 224 of the PHSA, 42 U.S.C. § 233. See id. at ,r 6;

             Declaration of Gopichand Vallabhaneni, DMD, dated November 3, 2020 (Exhibit C),                    ,r,r 1-5;
             Declaration of Jeffrey McKee, Psy. D., dated November 16, 2020 (Exhibit D), ,r,r 1-4.

                     5.      Pursuant to§§ 224(a) and (g) of the PHSA, the remedy against the United States

             provided by the Federal Tort Claims Act of1946 ("FTCA"), 28 U.S.C. §§ 1346(b), 2401(b), 2671-

             2680, for damages for personal injury resulting from the perfo1mance of dental functions by an

             employee of the Public Health Service acting within the scope of his or her employment, shall be

             exclusive of any other civil action or proceeding by reason of the same subject-matter against

             the employee whose act or omission gave rise to the claim. See 42 U.S.C. §§ 233(a), (g).

                     6. .    Section 224(c) of the PHSA provides that, upon ce1iification by the Attorney

             General that a defendant employee of the Public Health Service was acting within the scope of his

            or her employment at the time of the incidents out of which such a suit arose, any such civil action

            or proceeding commenced against the employee in a state court "shall be removed without bond

- -- -at- any-time- bef0r-e- tr-ia-l- by-the-Att0r-ne:Y-Qener-al- t0-the- distr-iet- e0ur-t- 0f-the- TJnited-States- 0f-the - -------

            district and division embracing the place wherein it is pending and the proceeding deemed a tort




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action brought against the United States under the provisions of Title 28 and all references

thereto." 42 U.S.C. § 233(c) (emphasis added).

       7.      The Attorney General, by Christina E. Nolan, United States Attorney for the

District of Ve1mont, has ce1tified, pursuant to § 224(c) of the PHSA, 42 U.S.C. § 233(c), that

Dr. Vallabhaneni was acting within the scope of his employment with CHCB at the time of the

incidents out of which this suit arose. See Certification of Christina E. Nolan, dated January 14,

2021 (Exhibit E).

       8.     A trial has yet to be held in this case.

       9.     WHEREFORE, the action captioned Kalanges v. Vallabhaneni, et al., Case No.

1047-11-19-Cncv, is hereby removed to this Comt and deemed an action brought against the

United States pursuant to the FTCA.

       Dated at Burlington, in the District of Vermont, this 14th day of January, 2021.

                                                         Respectfully submitted,

                                                         CHRISTINA E. NOLAN
                                                         United States Attorney

                                                By: ~ ~
                                                    BENJAMIN WEATHERS-LOWIN
                                                    Assistant United States Attorney
                                                    United States Attorney's Office
                                                    P.O. Box 570
                                                    Bmlington, Vermont 05402
                                                    (802) 951-6725
                                                    Ben. Weathers-Lowin@usdoj.gov

                                                     Attorney for the United States




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                      EXHIBIT
                      EXHIBITAA
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                                                          STATE OF VERMONT

     SUPERIOR COURT                                                                             CIVIL DIVISION
     CHITTENDEN UNIT                                                                        DOCKET NO.: 1047.;U-19 Cncv

     WENDY L. KALANGES,                                                 )
                                                                        )
                            Plaintiff,                                  )
                                                                        )
                            v.                                          )
                                  )
     GOPICHAND VALLABHANENI       )
     and COMMUNITY HEALTH CENTERS )
     OF BURLINGTON,               )
                                  )
                                                                       )
                           Defendants.                                 )

                                 COMPLAINT AND DEMAND FOR TRIAL BY JURY

             Plaintiff, Wendy Kalanges, by and thi·ough counsel, Affolter Gannon, alleges in this

 Complaint as follows:

                                                 JURISDICTION AND PARTIES

 1.          Plaintiff is a resident of Chittenden County, Vermont.

 2.          Defendant, Community Health Centers of Burlington (hereinafter "CHC"), was at all

             material times a Vermont health practice which provided dental care with its principal

            place of business in Burlington, Ve1mont.

3.          Defendant, Gopichand Vallabhaneni, DDS, was at all material times a dentist licensed to

            practice dentistiy in the State of Vermont who treated patients at Defendant CHC.

                                                   FACTUAL BACKGROUND

4.          This is a malpractice action for complications arising from a dental procedure performed

            by Dr. Vallabhaneni on Wendy Kalanges ..

5.         Dr. Vallabhaneni was required by the standard of care to utilize a dental dam to avoid

           complications, but failed to do so.



      Ar.r.nr .Tr.R   n ANNON . • I~ Rrir.kvnrrl Road. Suire Two• Essex Junction. VT 05452 • Tel. (802) 878-2797 • Fax (802) 878-6269
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• 6.             This case has been reviewed by a qualified expert or expe1ts who find cfear deviations

                 from the standard of care which were the cause of complications suffered by Ms.

                 Kalanges.

                                                                               CAUSE OF ACTION
                                                                                                                                                         ';
 7.              Upon information and belief, at all times material to this complaint, Dr. Vallabhaneni was

                employed by Defendant CHC.

 8.             At all times material to this complaint, Defendant Vallabhaneni acted as the agent of

                Defendant CHC in unde1taking to provide the treatment to Plaintiff.

 9.             At all times material to this complaint, the care and treatment provided by Defendant

                Vallabhaneni was authorized and ratified by Defendant CHC.

 10.·          At all times material to this complaint, Plaintiff was under the care o:fthe Defendants.

               During such time, each Defendant owed Ms. Kalanges the duty of care requiring

               Defendants to act in accordance with accepted standards of dental care in rendering

               treatment to Ms. Kalanges.

11.            At all times material to this complaint, Defendants' care and treatment of Plaintiff fell

              below the standard of care exercised by reasonably skillful, careful and prudent health

              care professionals engaged in a similar practice under the same or similar circumstances.

12.           During the care and treatment of Ms. Kalanges, Defendants deviated from the standard of

              care exercised by reasonably skillful, careful and prudent professionals engaged in a

             similar practice under the.same or similar circumstances.

13.          During the care and treatment of Ms. Kalanges up to November 26, 2016, Defendants

             each breached their duties of care in manners including, but not limited to, the following
                                                                                                                                                                              t ,.
             acts of omission ot commission:

                              1)               Failing to advise Plaintiff prior to her procedure of the need for a dental


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           Case 5:21-cv-00007-gwc Document 18-1 Filed 02/03/21 Page 7 of 21

                                 ,. .... .


                          dam;

                  2)      Failing to utilize a dental dam;

                  3)      Failing to recognize and appropriately treat complications, failing to

                          inform Plaintiff of the existence of said complications arid that they were

                          caused by Defendants' failure to use a dental dam.

  14.     As a proximate result of the aforementioned acts of omission or commission by each

          Defendant, Plaintiff incuned and continues to incur significant health care bills and

         economic loss. Ms. Kalanges also experienced and continues to experi~nce unnecessary

         pain, suffering, loss of normal function and psychological stress.



                                             DEMAND FOR RELIEF

 16.     Plaintiff demands judgment and verdict against each Defendant, jointly and severally, in

         ~n amount which will compensate her for pain and suffering and permanent injury along

         with health care bills, economic loss together with interest and costs and such other

         additional relief as the Court may deem just and proper.

                                               JURY DEMAND

        Plaintiff elects trial by jury on all issues.

                        CERTIFICATE OF MERIT (12 V.S.A § 1042)

        Pursuant to 12V.S.A. § 1042, Plaintiffs' counsel hereby ce11ifies I have consulted with a

health care provider qualified pursuant to the requirements of Rule 702 of the Vermont Rules of

Evidence and   any other applicable standard, and that, based on the information reasonably
·available at the time the opinion was rendered, the health care provider has:

        (1) Described the applicable standard of care;



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        (2) Indicated that based on reasonably available evidence, there is a reasonable

        likelihood that the Plaintiff will be able to show that each Defendant failed to meet that

        standard of care; and

        (3) Indicated that there is a reasonable likelihood that the Plaintiff will be able to show

         that the Defendant's failure to meet the standard of care caused the Plai~tiff s injuries.




        WHEREFORE Plaintiff requests judgment against Defendants in her favor plus costs and

interest and any other relief deemed just.


                                                      f,L
       DATED at Essex Junction, Vennont this        1i_ day of February, 2020.
                                                       AFFOLTER GANNON




                                                        111           11 _________,,;--
                                              By:      Michael.[,ta~
                                                      Attorney for Plaintiffs
                                                      15 Brickyard Road
                                                      Essex Junction, VT 05452
                                                      802-878-2797 ext. 224
                                                      gannonm@ve1montlawyers.net




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                      EXHIBIT
                      EXHIBIT B
                              B ·           ~
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                          IN THE UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT

                                                          )
 Wendy L. Kalanges,                                       )
                                                          )
 Plaintiff,                                               )
                                                          )
       vs.                                                )
                                                          )
 Gopichand Vallabhaneni, D.D.S.; and Community            )
 Health Centers of Burlington,                            )
                                                          )
Defendants.                                               )
                                                          )




                                      DECLARATION OF
                                      MEREDITH TORRES


         1. I am a Senior Attorney in the General Law Division, Office of the General Counsel,

Department of Health and Human Services (the "Depaiiment"). I am familiai· with the official

records of administrative tort claims maintained by the Depaiiment as well as with :the system by

which those records are maintained.

        2. The Department has a Claims Office that maintains in a computerized database a

record of administrative t01i claims filed with the Department, including those filed with respect

to federally supp01ied health centers that have been deemed to be eligible for Federal Tort

Claims Act malpractice coverage.


      _ 3. As a consequence, if a tort claim had been filed with the Depaiiment with respect to

Community Health Centers ofBurlington, its approved delivery sites or its employees and/or

qualified contractors, a record of that filing would be maintained in the Claims Office database.




                                                 I
                                                                                           )
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           4. I have caused a search of the Claims Office database to be conducted and found no

record of an administrative tort claim filed by Wendy L. Kalanges, and/or an authorized

representative relating to Community Health Centers ofBurlington and/or Gopichand

Vallabhaneni, D.D.S.

          5. I have also reviewed official Agency records and determined that Community Health

Centers ofBurlington , was deemed eligible for Federal Tort Claims Act malpractice coverage

effective Januaiy 1, 2016, and that its coverage has continued without intenuption since that

time. The Secretaiy of Health and Human Services' authority to deem entities as Public Health

Service employee under 42 U.S.C. § 233(g) has been delegated to the Associate Administrator,

Bureau of Primaiy Health Cai·e, Health Resources and Services Administration. A copy of the

notification issued by the Associate Administrator, Bureau of Primaiy Health Care, Health

Resources and Services Administration, Depaiiinent of Health and Human Services to

Community Health Centers ofBurlington, is attached to this declai·ation as Exhibit 1.

          6. I have also reviewed the employment records submitted by Community Health

Centers of Burlington, on behalf of the defendant, Gopichand Vallabhaneni, D.D.S., and have

dete1mined that Gopichand Vallabhaneni, D.D.S., was an employee of Community Health

Centers ofBurlington, at the time of the incidents giving rise to this suit.

          I declare under penalty ofpe1jmy that the foregoing is true and correct. 28 U.S.C.

§ 1746.

          Dated at Washington, D.C., this 13th day of Januaiy 2021.




                                       MEREDITH TORRES
                                       Senior Attorney, Claims and Employment Law
                                       General Law Division
                                       Office of the General Counsel
                                       Depaiiment of Health and Human Services


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                       EXHIBIT
                       EXHIBIT 11
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 1. ISSUE DATE: 6/22/2015



 2a. FTCA DEEMING NOTICE NO.:
 1-F00000813-15-01


 2b. Supersedes: []



 3. COVERAGE PERIOD:
 FROM: 1/1/2016 THROUGH: 12/31/2016
                                                           DEPARTMENT OF HEAL TH AND
                                                                 HUMAN SERVICES
 4. NOTICE TYPE: Renewal                                 HEALTH RESOURCES AND SERVICES
                                                                 ADMINISTRATION


 5a. ENTITY NAME AND ADDRESS:
 Community Health Centers of Burlington , Inc.
 617 RIVERSIDE AVE
 BURLINGTON, VT 05401-1601
                                                             NOTICE OF DEEMING ACTION

                                                              FEDERAL TORT CLAIMS ACT
                                                                    AUTHORIZATION:
6. ENTITY TYPE: Grantee                               Federally Supported Health Centers Assistance
                                                               Act (FSHCAA), as amended ,
                                                      Sections 224(g)-(n) of the Public Health Service
                                                            (PHS) Act, 42 U.S.C. § 233(g)-(n)
7. EXECUTIVE DIRECTOR:
Jack Donnelly


Ba. GRANTEE ORGANIZATION:
Community Health Centers of Burlington, Inc.




8b. GRANT NUMBER: H80CS00311



9. THIS ACTION IS BASED ON THE INFORMATION SUBMITTED TO, AND AS APPROVED BY
HRSA, AS REQUIRED UNDER 42 U.S.C. § 233(h) FOR THE ABOVE TITLED ENTITY AND IS
SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY OR BY
REFERENCE IN THE FOLLOWING:

  a. The authorizing program legislation cited above.
  b. The program regulation cited above, and,
  c. HRSA's FTCA-related policies and procedures.

In the event there are conflicting or otherwise inconsistent policies applicable to the program, the
above order of precedence shall prevail.
10. Remarks:
     Case 5:21-cv-00007-gwc Document 18-1 Filed 02/03/21 Page 14 of 21
Electronically signed
Electronically signed by
                       by Tonya Bowers, Deputy
                          Tonya Bowers, Deputy Associate Administrator
                                                         Administrator for Primary
                                                                           Primary Health
                                                                                   Health
Care
Care on: 6/22/2015 5:37:31
     on: 6/22/2015  5:37:31 PM
                            PM




                                  (; .'
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 FTCA DEEMING NOTICE
                                  GRANT NUMBER:
 NO.:
                                  H80CS00311
 1-F00000813-15-01


 Community Health Centers of Burlington, Inc.
 617 RIVERSIDE AVE
 BURLINGTON, VT05401-1601

 Dear Jack Donnelly:

 The Health Resources and Services Administration (HRSA), in accordance with the Federally
 Supported Health Centers Assistance Act (FSHCAA), as amended, sections 224(g)-(n) of the Public
 Health Service (PHS) Act, 42 U.S.C. §§ 233(g)-(n), deems Community Health Centers of Burlington,
 Inc. to be an employee of the PHS, for the purposes of section 224, effective 1/1/2016 through
 12/31/2016.

Section 224(a) of the PHS Act provides liability protection under the Federal Tort Claims Act
 (FTCA), 28 U.S.C. §§ 1346(b), 2672, or by alternative benefits provided by the United States where
the availability. of such benefits precludes a remedy under the FTCA, for damage for personal injury,
including death, resulting from the performance of medical, surgical, dental, or related functions by
PHS employees while acting within the scope of such employment. This protection is exclusive of
any other civil action or proceeding. Coverage extends to deemed entities and their (1) officers; (2)
governing board members; (3) full- and part-time employees; and (4) contractors who are licensed
or certified individual health care practitioners providing full-time services (i.e., on average at least
32½ hours per week for the entity for the period of the contract), or, if providing an average of less
than 32½ hours per week of such service, are licensed or certified providers in the fields of family
practice, general internal medicine, general pediatrics, or obstetrics/gynecology. Volunteers are
neither employees nor contractors and therefore are not eligible for FTCA coverage under
FSHCAA.

This Notice of Deeming Action (NOA) is also confirmation of medical malpractice coverage for both
Community Health Centers of Burlington, Inc. and its covered individuals as described above. This
NOA, along with documentation confirming employment or contractor status with the deemed entity,
may be used to show liability coverage for damage for personal injury, including death, resulting
from the performance of medical, surgical, dental, or related functions by PHS employees while
acting within the scope of such employment.

In addition, FTCA coverage is comparable to an "occurrence" policy without a monetary cap.
Therefore, any coverage limits that may be mandated by other organizations are met.

This action is based on the information provided in your FTCA deeming application, as required
under 42 U.S.C. § 233(h), with regard to your entity's: (1) implementation of appropriate policies
and procedures to reduce the risk of malpractice and litigation; (2) review and verification of
professional credentials and privileges, references, claims history, fitness, professional review
organization findings, and licensure status of health professionals; (3) cooperation with the
Department of Justice (DOJ) in the defense of claims and actions to prevent claims in the future;
and (4) cooperation with DOJ in providing information related to previous malpractice claims history.

Deemed health centers must continue to receive funding under Section 330 of the PHS Act, 42
U.S.C. § 254b, in order to maintain coverage as a deemed PHS employee. If the deemed entity
loses its Section 330 funding, such coverage will end immediately upon termination of the grant. In
addition to the relevant statutory and regulatory requirements, every deemed health center is
expected to follow HRSA's FTCA-related policies and procedures, which may be found online at
http://www.bphc.hrsa.gov.
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                       EXHIBIT
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                     Case 5:21-cv-00007-gwc Document 18-1 Filed 02/03/21 Page 17 of 21




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                  Ce nOtNers~-·'••····'"""'llMWil™'·""""==•="-=•-
                            www.chcb.org
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• RIVERS IDE: HEALTH CENTER - SAFE HARBOR HEALTH CENTER • PEARL STREET YOUTH HEALTH CENTER • SCHOOL-BASED DENTAL CENTER •
  • (H_.l,,'-',?LAIN 1£l.l>.ND5 HEALTH CENTER • SOUTH ENO HEALTH (ENTER Goo-oHEALTH fNTEiH~AL ,",:ED!C.JNE • Y11!N0 0$KI fA,½ILY HEALTH • .




                                      Declaration of Gopichand Vallabhaneni, DMD


             1 . I, Gopichand Vallabhaneni , DMD, am licensed (dentist) to practice in the state of
                 Vermont.

             2. I have been employed by Community Health Centers of Burlington since February 23,
                2004.

             3. I have not billed privately for services provided to Wendy L. Kalanges.

             4. I have not received monetary compensation for the services provided to Wendy L.
                 Kalanges from any third party payers, including Medicaid, nor any other source other
                 than the regular compensation received from Community Health Centers of
                 Burlington.

             5. I have not been employed by any other health center's facility and/or private
                medical facility, other than Community Health Centers of Burlington during the time
                alleged in the complaint.


            I declare under penalty of perjury that the foregoing is true and correct.


            Dated this                                           2020.



                        /)M~--
            Gopichand Vallabhaneni, DMD




                                                              .,(.
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                       EXHIBIT
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                               D
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               • •h•
   community
- health centers _ _ _ _ _ _ _ _ _ _ _ __
            OF BURLINGTON               www.chcb.org
• RIVERSIDE HEALTH CENTER • SAFE HARBOR HEALTH CENTER • PEARL STREET YOUTH HEALTH CENTER • SCHOOL-BASED DENTAL CENTER •
  • CHAMPLAIN ISLANDS HEALTH CENTER • SOU_TH END .HEALTH CENTE.R • GoodHEALTH INTERNAL MEDICINE • WINOOSKI FAMILY HEALTH •



                                   Declaration of Jeffrey McKee, Psy.D., CEO


           1. I, Jeffrey McKee, Psy.D., am the Chief Executive Officer of Community Health
              Centers of Burlington, located at 617 Riverside Avenue, Burlington, VT 05401.

           2. I have been employed by Community Health Centers of Burlington since July 6, 2020.

           3. Gopichand Vallabhaneni, DMD, has been employed at Community Health Centers of
              Burlington as a Dentist from February 23, 2004 through present.

           4. To the best of my knowledge Gopichand Vallabhaneni, DMD, was not billing Wendy
              Kalanges privately nor was he receiving monetary compensation for the services
              provided to Wendy Kalanges from any third party payers, including Medicaid, nor any
              othe'r source, other than the regular compensation received from Community Health
              Centers of Burlington.

           I declare under penalty of perjury that the foregoing is true and correct.


           Dated this _ _ _ _fi_()
                                 ~~-----day ~Mk_V                                      2020.




       ~ J-~
          JffeMKee,          CEO
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                       EXHIBIT
                       EXHIBIT E
                               E
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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

 WENDY L. KALANGES,                              )
                                                 )
               Plaintiff,                        )     Case No. - - - - - -
                                                 )
        V.                                       )
                                                 )
GO PI CHAND VALLABHANENI                         )
and COMMUNITY HEALTH CENTERS                     )
OF BURLINGTON,                                   )
                                                 )
               Defendants.                       )


                                       CERTIFICATION

        I, Christina E. Nolan, United States Attorney for the District of Vermont, hereby ce1iify,

pursuant to 42 U.S.C. § 233(c) and 28 C.F.R. § 15.4, and on the basis of the information presently

available to me with respect to the allegations set forth in the complaint filed by the above-named

plaintiff against the above-named defendants in the Vermont Superior Comi, Chittenden Civil

Division, in the action captioned Kalanges v. Vallabhaneni, et al., Case No. 1047-11-19-Cncv,

that Gopichand Vallabhaneni, DMD, was an employee of Community Health Centers of

Bmlington, and acting within the scope of such employment, at the time of the incident out of

which the foregoing suit arose.


       Dated at Burlington, in the District ofVe1mont, this {   l( fl-:iay of January, 2021.

                                                     ~ ~-<?
                                                     United States Attorney
                                                     District of Vermont
